Case 2:05-cV-02213-SHI\/|-STA Document 47 Filed 07/19/05 Page 1 of 4 Page|D 45

 

IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE ms JUL
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THOM " t=; ;§I.j»;j__j
U.s. ss act y
CHERYL AUTIN, CARoL DIFFEE, W,D 05 mg phing °
and ABIGAIN GIVHAN, oN BEHALF " '
oF THEMSELVES ANI) oTHERs
sIMILARLY slTUATEI),
Plaintiffs,

vs. NO.: 05-2213-Ma-An

SOLVAY PHARMACEUTICALS, INC.,
and HAROLD H. SHLEVIN, Ph.D.,

Defendants.

\_¢\-/\.I\./\-/V\_/\_/\-/\.¢\./\/`-/

 

ORDER SETTING TELEPHONE SCHEDULING CONFERENCE

 

Pursuant to an Order entered July 1, 2005, counsel were ordered to confer and submit a
joint proposed Scheduling Order by Wednesday, July 12, 2005 that set forth pre-trial deadlines
that were not tied or dependent on a ruling by the Court or any pending motion. Counsel
submitted a proposed Scheduling Order which did not comply with the instructions of the Court.

The Court will hold a telephone conference on WEDNESDAY, JULY 27, 2005 at 1:30
p.m. regarding proposed deadlines which all counsel shall attend by telephone Ms. Elizabeth

Collins shall initiate the telephone conference call and insure that all parties are present prior to

Ti'-`rs document entered on the docket sheet in compliance

with Rute ms and/or 79(&) FRCP on W

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dialing the chambers of the Court in Memphis, Tennessee at 901-495-1495.

IT IS SO ORDERED. CS TM/?J /Z

\.I

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE ]UDGE

Date: Y/U.Q¢? /f/, ZOQ)/

 

 

July 20, 2005 to the parties listed

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:05-CV-02213 was distributed by faX, mail, or direct printing on

 

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Honorable Samuel Mays
US DISTRICT COURT

